             Case 8-15-70212-las               Doc 16-1         Filed 04/21/15         Entered 04/21/15 11:08:44


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smg         NYS Unemployment Insurance              Attn: Isolvency Unit         Bldg. #12, Room 256         Albany, NY 12240
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smg         United States Trustee        Office of the United States Trustee         Long Island Federal Courthouse       560
            Federal Plaza       Central Islip, NY 11722−4437
8491924     ARS National Services Inc          P.O. Box 463023          Escondido, CA 92046−3023
8491925     Bank of America         P.O. Box 982235           El Paso, TX 79998
8491926     C−Tech collections         5505 Nesconset Hwy            Mount Sinai, NY 11766
8491927     Cavalry Portfolio Service        P.O. Box 27288           Tempe, AZ 85285−7288
8491928     Chase Cardmember Service            P.O. Box 15153          Wilmington, DE 19886−5153
8491929     Chase Cardmember Service            PO Box 15153           Wilmington, DE 19886−5153
8491930     Comenity Bank         P.O. Box 182125            Columbus, OH 43218−2125
8491931     Comenity Bank         P.O. Box 182272            Columbus, OH 43218
8491932     Credit Control LLC         P.O. Box 31179           Tampa, FL 33631−3179
8491934     Dell Financial       PO Box 81607           Austin, TX 78708
8491933     Dell Financial       Payment Processing Center            P.O. Box 6403         Carol Stream, IL 60197−6403
8521261     Discover Bank         Discover Products Inc          PO Box 3025           New Albany, OH 43054−3025
8491935     Discover Fin Services LLC          P.O. Box 15316           Wilmington, DE 19850
8491936     Dress Barn        P.O. Box 659704           San Antonio, TX 78265
8491937     Fashionbug/Spirit of Amer          1103 Allen Drive         Milford, OH 45150
8491938     Firstsource Advantage         205 Bryant Woods South            Buffalo, NY 14228
8491940     GE Capital Retail Bank         Attn: Bankruptcy Dept           P.O. Box 103104         Roswell, GA 30076
8491939     GE Capital Retail Bank         Attn: Bankruptcy Dept.           P.O. Box 103104         Roswell, GA 30076
8491941     GECRB/Lowes           PO Box 965005             Orlando, FL 32896
8491942     GECRB/VS           P.O. Box 182789           Columbus, OH 43218
8491943     GEMB/OLD NAVY               PO Box 965005            Orlando, FL 32896
8491944     GERB/PayPal          P.O. Box 960080           Orlando, FL 32896−0080
8491945     Gold Key Credit INC          PO Box 15670           Brooksville, FL 34604
8491947     HSBC Mortgage Corporation             2929 Walden Avenue            Depew, NY 14043
8491946     Home Depot Credit Service           P.O. Box 182676           Columbus, OH 43218−2676
8491948     Jordan Eisenberg        c/o Mark L. Bodner, Esq.           470 Park Avenue South          12th Floor South     New
            York, NY 10016
8491949     Kirschenbaum & Phillips          40 Daniel Street         Suite 7       Farmingdale, NY 11735
8491950     Kohls Department Store          PO Box 3115           Milwaukee, WI 53201
8491951     Kohls Payment Center          P.O. Box 2983          Milwaukee, WI 53201
8491952     Kohls/Cap One         P.O. Box 3115           Milwaukee, WI 53201
8491954     LIPA/PSEG          PO Box 888           Hicksville, NY 11802−0888
8491953     Limited Too/Justice        Comenity Bank            P.O. Box 182789          Columbus, OH 43218
8491955     Macys         P.O. Box 183083          Columbus, OH 43218−3083
8491956     Macys         P.O. Box 8218         Mason, OH 45040
8491957     Mandee/Comenity Bank            P.O. Box 182789           Columbus, OH 43218
8491958     Mercedes−Benz Financial           13650 Heritage Valley Pkw            Fort Worth, TX 76177
8491959     Northland Group Inc.         PO Box 390846            Minneapolis, MN 55439
8491960     Old Navy/GECRB            P.O. Box 530942           Atlanta, GA 30353−0942
8491961     Pier 1 Imports       P.O. Box 659617           San Antonio, TX 78265−9617
8491962     Portfolio Recovery        P.O. Box 12903           Norfolk, VA 23541
8491963     Professional Bureau of        Collections of Maryland           P.O. Box 4157        Englewood, CO 80155
8547174     Quantum3 Group LLC as agent for            Comenity Bank            PO Box 788        Kirkland, WA 98083−0788
8491964     SRA Associates of NJ          401 Minnetonka Road            Somerdale, NJ 08083
8551029     Synchrony Bank         c/o Recovery Management Systems Corp                25 SE 2nd Ave Suite 1120        Miami FL
            33131−1605
8491965     TJX Rewards         P.O. 965015          Orlando, FL 32896
8491966     Toys R Us        PO Box 965001            Orlando, FL 32896
8491967     United Collection Bureau         5620 Southwyck Blvd             Suite 206       Toledo, OH 43614
8491968     WEBBANK/DFS              P.O. Box 81607           Austin, TX 78708
8491969     WFNNB/ Dress Barn            PO Box 182789            Columbus, OH 43218
                                                                                                                      TOTAL: 56
